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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 ELNORA CARTHAN,et al.,                             Case No.: 5:16-cv-10444
 Plaintiffs,                                        Hon. Judith E. Levy
                                                    Mag. Mona K. Majzoub
 v.

 GOVERNOR RICK SNYDER,et al.,
 Defendants.


                       CITY DEFENDANTS' NOTICE OF APPEAL

         NOTICE IS HEREBY GIVEN that Defendants Darnell Earley, Gerald

 Ambrose,Howard Croft, Michael Glasgow,Daugherty Johnson and the City ofFlint

 (collectively "City Defendants"), by and through their respective counsel of record,

 are appealing to the United States Court of Appeals for the Sixth Circuit from the

 Opinion and Order Granting In Part and Denying In Part Putative Class Plaintiffs'

 Motion for Leave to File an Amended Complaint [620] and Granting In Part and

 Denying In Part Defendants' Motion to Dismiss (Dkt. 798)("Order"). This timely

 appeal is taken pursuant to 28 U.S.C. § 1291 as it relates to the Court's rulings

 regarding:(i) the applicability of the Eleventh Amendment to the City of Flint and

 (ii) qualified immunity under 28 USC § 1983 and 1985 with respect to Defendants

 Darnell Earley, Gerald Ambrose, Howard Croft, Daugherty Johnson and Michael

 Glasgow.



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 Respectfully submitted,

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 Dated: April 15, 2019




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                             CERTIFICATE OF SERVICE

          I hereby certify that on April 15, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system which will send

 notification to parties enrolled through the ECF system. A hard copy has been

 mailed via the United States Postal Service to those who are not enrolled.


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